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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


FIRST LOOK INSTITUTE, INC., et al.,

       Plaintiffs,

       v.                                                   Civil Action No. 20-3499 (TJK)

U.S. AGENCY FOR GLOBAL MEDIA,

       Defendant.


                                     JOINT STATUS REPORT

       Pursuant to the Court’s March 13, 2023, Minute Order, First Look Institute, Inc., and Lee

Fang (“Plaintiffs”) and U.S. Agency for Global Media (“USAGM”) hereby respectfully submit

the following joint status report.

       This is a suit under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552. Since the

last joint status report, Plaintiffs informed USAGM that they do not intend to pursue summary

judgment challenges as to the adequacy of USAGM’s searches, production, or redactions to the

produced documents. However, Plaintiffs do intend to seek attorneys’ fees and costs under 5

U.S.C. § 552(a)(4)(E). In advance of the parties’ next joint status report, Plaintiffs will provide

Government counsel with a letter detailing their fees position. The parties hope to resolve the issue

through discussions with each other. If they cannot, Plaintiffs reserve all rights to file a motion for

fees and costs with the Court if needed.

       The parties propose that the next joint status report be due August 9, 2023, giving them

adequate time to pursue discussions about fees and costs without Court intervention.
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Date: May 8, 2023                       Respectfully submitted,

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